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January 24, 2025

VIA ECF
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

       We write on behalf of Sean Combs to respond to the declarations submitted by the
government on January 17, 2025 (Dkt. 131), and in further support of Mr. Combs’ Motion For A
Hearing, Suppression, And Other Relief (Dkt. 97).

         The declarations show that ever since the government first tried to use Mr. Combs’s
privileged notes to continue his detention, it has presented a materially false narrative about how
it got access to these sensitive, privileged materials containing his defense strategy and
communications with his attorneys. Most significantly, the declarations reveal SDNY
supervisors directed the BOP to search Mr. Combs’s unit, because of its investigation and
prosecution of Mr. Combs. And they demonstrate the government has consistently monitored
Mr. Combs’s legal calls. In other words, they confirm what Mr. Combs has been arguing all
along—that the search was conducted based upon a pretext, not for any legitimate penological
reason, and that Investigator-1’s surveillance before and during the search violated Mr. Combs’s
constitutional rights and invaded the attorney-client privilege.

        First, the declarations refute the government’s repeated claims that the BOP sweep was
carried out solely to further legitimate penological interests and did not target Mr. Combs. The
declarations expose that after the sweep began, it was unclear whether Mr. Combs’s unit would
be searched at all. Moreover, the search of that unit was carried out specifically at the direction
of SDNY supervisors, including the supervisor for this case, because of their interest in obtaining
evidence against Mr. Combs.

        Second, the declarations show that Investigator-1 became an agent of the prosecution
team and worked to advance its case. He searched Mr. Combs’s bunk for evidence, not
contraband, and it is clear his purpose was to gather evidence for the prosecution, not police any
potential threats to MDC security. Indeed, it is notable that even though he has been surveilling
Mr. Combs’s communications for months, to this day the BOP has not taken any actions to
discipline Mr. Combs for any purported violations of MDC policies. Mr. Combs has never
received so much as a write up in his four months in BOP custody, despite the government’s
repeated complaints about his alleged obstruction from MDC and supposed violation of policy.
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        Third, the declarations confirm that the government was complicit in Investigator-1’s
continuous monitoring of Mr. Combs’s privileged communications. Investigator-1 admits he
listened to Mr. Combs’s calls, including with his counsel, and that all those recordings, including
the ones with attorneys, are being furnished to the U.S. Attorneys’ Office.

        Finally, the declarations raise additional questions that cannot fully and accurately be
answered except through discovery and an evidentiary hearing. As just one example, despite
reporting to prosecutors that he personally took the photographs of Mr. Combs’s notes,

The declarations are inconsistent with each other, omit key details, rely extensively on hearsay,
and are remarkably vague as to key points. The truth will only be fully revealed if the
government’s claims can be tested through cross-examination of witnesses who have actual
knowledge of the material facts. Likewise, the Court cannot fashion appropriate remedies
without the complete information that can only be discovered through such a hearing.

I.   The Government Misrepresented The Facts And Tried To Conceal The
     Constitutional Violations

       A. SDNY Prosecutors, Not The BOP, Directed The Search

        The declarations contradict the government’s prior representations concerning the
reasons for the search and who directed it. The government previously claimed that the MDC
sweep was planned by prison officials well in advance of Mr. Combs’s arrest; was motivated
solely by legitimate penological interests; and did not target Mr. Combs. See Dkt.117 at 1, 3, 8;
Dkt.72 at 2-3. It further claimed “no one on the Case Team supervised, conducted, or
participated [in] the search,” Dkt.72 at 3, and that the search was organized and executed
primarily by BOP staff, id. at 5. These claims were essential to the government’s opposition,
which rested on the notion that “prison officials are presumed to do their best to evaluate and
monitor objectively the security needs of the institution,” including in deciding whether a search
is necessary. Dkt.117 at 9.

       But these claims were false.

        The truth is that the search of Mr. Combs’s unit apparently was not even part of the
BOP’s original plan for the sweep. But it was SDNY supervisors, including the trial team’s own
unit chief—Supervisor-1—who ultimately directed the search. And the search was conducted
not for legitimate institutional security reasons, but because Supervisor-1 was interested in
searching Mr. Combs.

       Specifically, on the morning of the second day of the sweep, representatives from the
BOP and other federal agencies met to discuss “a potential search of [Mr. Combs’s] unit.”
Slavik Decl. ¶10. The agencies had not previously decided whether such a search was necessary,
and “inquired into … the position of the USAO-SDNY … regarding the potential search.” Id.
Supervisor-2, an SDNY unit chief who helped plan the MDC sweep and was present during the
sweep, then discussed with Supervisor-1 whether Mr. Combs’s unit should be searched.
Supervisor-1 stated that it should be searched “in part because of what the Prosecution Team had
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learn ed regarding [Mr. Combs's] conduct at the MDC." Id. ,II 1. Supervisor-I confened with
SONY "senior leadership," and relayed to Supervisor-2 that Mr. Combs's unit should indeed be
sear·ched, which Supervisor-2 further relayed to the BOP, leading to the search. Id. Thus, while
AUS.A Slavik claims no SONY "personnel directed how the sear·ch of [Mr. Combs's] unit would
be conducted," she can't deny that SDNY supervisors "directed" the search itself. Slavik Deel.
,I12 (emphasis added) . That flatly contradicts the government's prior representations.

       B. Investigator-1 Was Searching For Evidence And Not Contraband

        The declarations also contradict the government's prior narrntive concerning its
relationship with Investigator-I and his motivations. The government previously claimed "the
Case Team's investigation and the BOP investigation have operated independently," Dkt.117 at
16, and that Investigator-I was merely searching for "contrnband"-not evidenc ~uring the
sweep, Dkt.72 at 3; Dkt.117 at 4. The declarations show that both of these claims were false.

       In fact, the government and Investigator-I worked in a coordinated fashion for at least
two weeks leading up to the MDC sear·ch, and the trial team encouraged Investigator- I to
monitor Mr. Combs 's communications. BOP "personnel" contacted Supervisor-I on October 10,
2024, to infonn her that Investigator-I was monitoring Mr. Combs's communications and found
relevant evidence. Slavik Deel. ,I3. That date is significant, because it was ten days after Mr.
Combs filed his widely publicized notice of appeal concerning the detention order, and the same
day the Comi invited the defense to make a renewed bail application. See Oct. 10, 2024 Tr.26.
Notably, the SDNY supervisors on this case have been resent for all comi a ear·ances in this
matter includin that October 10 conference.


spoke with AUS.A Slavik "on several other occasions in October and November 2024," Slavik
Deel. ,I4, although AUS.A Slavik never specifies when or in what capacity these conversations
took place, or what was discussed.

        Investigator-I clear·ly became an agent of the prosecution team. He collected, screened,
and shar·ed evidence while collaborating with a trial tea.in prosecutor, and the frnits of his
investigation were ultimately used by the government to by to detain Mr. Combs. He made a
point of ale1iing them to Mr. Combs's "plans to discredit possible witnesses and find diii on
people," Slavik Deel. ,Il 6--in other words, core defense strategy protected by the Sixth
Amendment, see Dkt. 85, unrelated to any legitimate penological concerns.

        And the prosecutors have used the infonnation Investigator-I illegally obtained in
var-ious ways. We cannot know the full extent of the im ro er uses of the frnits of the sear·ch
without a Kasti ar hearin but for exam le
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-             2 And despite the government's claims that Investigator- I was monitoring Mr.
~             use of purported violations of BOP policy, Mr. Combs has not once been
disciplined, or even asked by the MDC to stop engaging in the cited conduct. If lnvestigator-1 's
surveillance was genuinely undertaken solely for penological purposes, why does it seem that the
frnits of his work have only been used by the prosecutors and not the BOP itself?

        Clear·ly, Investigator-I sear·ched Mr. Combs 's notes during the sweep to find evidence for
the prosecutors-he was not searchin for m orted "contraband" as the ovemment reviously
re resented to the Court.




                                       Moreover, AUS.A Slavik states that the BOP was looking
for "narcotics, weapons, and electrnnic devices," none of which could possibly be found in the
pages of Mr. Combs's notes. Slavik Deel. ,I?. The "contraband" excuse was thus clearly a
pretext for the unlawful sear·ch.

         C. The Government Did Not Proceed In Good Faith And Took No Steps To Avoid
            Violating Mr. Combs's Rights

         The declarations confm n that the government has, via Investigator-I, consistently
monitored Mr. Combs's privileged communications with his attorneys. In its opposition to the
defense motion, the government claimed it made "good faith effo1is to avoid coming into contact
with privileged material" and that it is "contrary to facts and logic" to suggest Investigator-I was
its "info1mant in the defense camp." Dkt. 117 at 14-15. But it turns out Investigator-I has been
spying on the defense team all along.




                                                                                      Investigator- I
thus repeatedly infonned the trial team he was eavesdropping on privileged communications, but
the trial team never instm cted him to stop.3 That is outrageous. Worse, the trial tea.in endorsed
his conduct by requesting the communications at issue . .Accordingly, the government has
obtained and produced to the defense over thi1iy of the defense's own calls with Mr. Combs.



2 Mr. Combs already described other ways in which the government may have already made use of the notes apa1t

from its bail arguments. See 12/4/24 Geragos Decl. ,r23. And it is possible the government shared the contents of
the notes with additional patt ies such as witnesses or alleged victims (whose counsels are often in comt), fmt her
prejudicing the defense.
3 Mr. Combs's bunk was searched yet again, and his items rifled through, on December 24, 2024.
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That is an egregious breach of Mr. Combs's rights, and the Comi should immediately order the
government and BOP to cease any such spying on the defense camp.4

II.   The Declarations Show That Further Discovery And A Hearing Are Required

         A. The Slavik Declaration Is Permeated With Unverified Hearsay And Lacks
            Crucial Details

        The Slavik declar·ation is largely based on unsworn hear·say, much of which is vague and
raises more questions than it answers. For example, the discussion between the unidentified
BOP "personnel" and Supe1v isor- l on October 10, 2024, lacks any detail. Slavik Decl. ,I3.
Important questions remain. Who are the BOP personnel? What was said? Why was
Supe1v isor-l contacted, seemingly out of the blue by the BOP, and how did the BOP know who
to contact? Based on the chain of events, it is likely the BOP had standing orders from
Supe1v isor- l or other SDNY personnel to monitor Mr. Combs and repo1i on his conduct. When
were such orders given, and why? Where there other communications leading up to this call?

        AUS.A Slavik also fails to shar·e what she personally discussed (and when) with
fuvestigator-1 . She merely states, "I spoke with fuvestigator-1 on several other occasions in
October and November 2024." Slavik Deel. ,I4. But again, glar·ing uestions remain as to what
was said and what ex ectations ar·ose from these communications.




          The declaration fmi her references, without describing, multiple conversations and
meetings involving BOP personnel, ce1iain SDNY personnel, and other government officials.
Slavik Deel. ,I7, 10, 11 . It references multiple other conversations and meetings between
Supeiv isor-2 and Supe1visor-l, during which the supervisors specifically discussed Mr. Combs.
Id. ,Il 1. There are also references to conversations between Supe1v isor- l and SDNY "senior
leadership." Id. The Comi's consideration of Mr. Combs 's motion should not be based on such
rank, nondescript hear·say; fmi her discove1y and testimony from these individuals is required.



4
  The govemment claims it directed Investigator- I to produce the recordings to the Filter Team, Slavik Deel. ,r17,
but that is cold comfo1t for this egregious breach of Mr. Combs' s Sixth Amendment rights. As we explained in
prior submissions, Dkt. 98 at 6-9, 11, 21-22, Dkt. 120 at 5, the Filter Team process has failed, as the production of
multiple privileged notes to the Case Team, which the Cowt had to order clawed back, amply demonstrates. In
addition, since the filing of this motion, we have discovered multiple additional instances of privileged material
being produced by the Filter Team to the Case Team. For example, after defense counsel ale1t ed the Case Team to
the existence of a potentially privileged notebook from Mr. Combs's Miami residence that was searched in March
2024, the notebook was produced from the Filter Team to the Case Team without any input from counsel. It was not
until this instant motion that the defense was given the oppo1tunity to make privilege determinations regarding the
notebook. Additionally, multiple communications from an attomey at a law film that has been on counsel's
privilege list since April had been in the Case Team' s possession until the defense asked for them to be clawed back.
The defense has initiated other clawback requests in connection with additional privileged materials the Filter Team
passed to the Case Team.
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        As just one more example, the Slavik declaration states Investigator-1 “provided a high-
level overview of the contents of the BOP notes, including the defendant’s plans to discredit
possible witnesses and find dirt on people.” Slavik Decl. ¶16 (emphasis added). What
specifically did Investigator-1 say? What witnesses were identified? And what else was
communicated regarding the notes? Perhaps directing Investigator-1 to provide the photographs
to the Filter Team in the first instance provided some cover for the Case Team, but if the “high
level overview” revealed the substance of the notes, it was not a legitimate way to ensure that the
Case Team was not tainted by access to privileged information about Mr. Combs’s defense.

       B. Investigator-1’s Declaration Lacks Important Details




   -                                                                                          -
        Curiously, in contrast to the Slavik Declaration, Investigator-1’s declaration nowhere
states that he described the contents of Mr. Combs’s notes to AUSA Slavik. Compare
           , with Slavik Decl. ¶16. Why the inconsistency, and what is he hiding? Inconsistencies
like this undermine the credibility of the declaration and further underscore the need for a
hearing. Indeed, it is clear Investigator-1 previously misled prosecutors by telling them he took
the photographs of Mr. Combs’s notes. See Slavik Decl. ¶16; Dkt. 72 at 3; Dkt. 117 at 4. That is
apparently not true, yet Investigator-1’s declaration still fails to identify the individual who
actually took the photographs. Who is this person? What did he do with the photographs? Who
else saw them? And did the government have any communications with this individual? Did the
government ever interview that individual before filing its response to Mr. Combs’s motion, or to
comply with the Court’s order to file the declarations (Dkt. 123)?

       C. The “Prosecution Team” Also Includes Supervisor-1, Supervisor-2, and SDNY
          “Senior Leadership”

        The government uses a severely limited definition of “prosecution team” in an attempt to
withhold critical information and dodge accountability. But as explained in Mr. Combs’s
motion, the rights at issue “proscribe[] unlawful searches by government actors” generally—
including any BOP and USAO employees—not just searches carried out by the Case Team. Dkt.
98 at 13.

        In any case, the “prosecution team” as defined by the Second Circuit plainly includes the
SDNY supervisors and “senior leadership.” It includes, for example, the “prosecutor’s office”
generally. United States v. Avellino, 136 F.3d 249, 255 (2d Cir. 1998) (“An individual
prosecutor is presumed … to have knowledge of all information gathered in connection with his
office’s investigation of the case.” (emphasis added)). Supervisor-1 and Supervisor-2, as well as
SDNY’s “senior leadership,” are not “farflung member[s] of the executive branch,” United
States v. Hunter, 32 F.4th 22, 37 (2d Cir. 2022), or “employed by a different office of the
government,” id. at 36 (quoting Avellino, 136 F.3d at 255). These individuals regularly observe
the proceedings in this case, and supervise and sign off on the trial team’s investigative activities
and trial strategy. The Court should order discovery and declarations from these individuals and
eventually take their testimony at a hearing.
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       D. The Government Should Produce The Emails and Other Evidence
       The government mentions “email communications,” Slavik Decl. ¶7, and the MDC is
wired with surveillance cameras that recorded the relevant search. The Court should order the
production of this evidence and any other evidence in the government’s possession relevant to
the motion. It is the most reliable means of testing the government’s dubious claims.

                                               ***
         Instead of sharing the full story, the government has cherry-picked a few facts and
submitted declarations that undermine the credibility of its previous submissions, omit key facts,
and raise numerous important questions about what really happened. A full hearing in which
Mr. Combs’s counsel are afforded the opportunity to cross-examine the government actors with
knowledge of the facts relevant to the search is the only way to find the true facts and understand
the full picture so the Court can assess how best to remedy this grave violation of Mr. Combs’s
constitutional rights. Mr. Combs therefore respectfully requests that the Court order the
government to produce the additional discovery described in this letter, as well as whatever
communications it has already shared with the Court in camera, and hold a hearing.

                                                     Respectfully submitted,

                                                     /s/Alexandra A.E. Shapiro
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